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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                              CASE NO.: 1:07-CR-001-SPM

CHARLES WATSON,

           Defendant.
__________________________________/

                           ACCEPTANCE OF GUILTY PLEA

       PURSUANT TO the Report and Recommendation (doc. 57) of the United States

Magistrate Judge, to which there have been no timely objections, and subject to the

Court’s consideration of any plea agreement pursuant to Federal Rule of Criminal

Procedure 11(e)(2), the plea of guilty of the defendant, CHARLES WATSON, to Counts

One and Two of the indictment is hereby ACCEPTED. All parties shall appear before

this Court for sentencing as directed.

       DONE AND ORDERED this thirtieth day of March, 2007.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
